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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )
             vs.                           )                 8:05CR162
                                           )
GENARO FAVALA RAMIREZ,                     )                  ORDER
                                           )
                    Defendant.             )


       Defendant’s Motion to Continue (Filing No. 225) is granted.
       The Change of Plea Hearing is continued to 11:30 a.m. on October 31, 2006, in
Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South
18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 19th day of October, 2006.


                                        BY THE COURT:


                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
